                                            Case 6:22-bk-04313-GER         Doc 125-1       Filed 02/03/23   Page 1 of 1


                                                                              Exhibit A

                                                                        CRITICAL VENDORS




Pre-Petition
Amount Owed                    Critical Vendor Name        Address 1                                  Address 2                          Address 3
$1,637.71      NEW HAMPSHIRE LIQUOR COMMISSION            50 STORRS ST.                              CONCORD, NH 03301
$36.78         PREMIUM DIST                               15001 NORTHRIDGE DRIVE                     CHANTILLY VA 20151
$186.00        AMOSKEAG BEVERAGE INC                      510 HALL ST.                               BOW, NH 03304
$1,749.10      ATLAS DISTRIBUTING CORP                    44 SOUTHBRIDGE ST., P.O. BOX 420           AUBURN, MA 01501-0420
$463.10        L KNIFE & SONS INC                         P O BOX K                                  KINGSTON, MA 02364
$17,914.80     MARTIGNETTI OF MASSACHUSETTS               500 JOHN HANCOCK ROAD                      TAUNTON, MA 02780-7379
$6,293.80      RUBY WINES                                 P.O. BOX 7                                 AVON, MA 02322-0007
$7,246.21      MS WALKER/ALLEN'S LTD                      ALLEN'S LTD.                               975 UNIVERSITY AVE.                 NORWOOD, MA 02062
$1,871.10      BURKE DISTRIBUTING CORP.                   PO BOX 168                                 RANDOLPH, MA 02368
$420.40        COLONIAL WHOLESALE BEVERAGE                PO BOX 1430                                FALL RIVER, MA 02722
$353.53        HORIZON BEVERAGE COMPANY OF RI             COPLEY DISTRIBUTORS                        P.O. BOX 1427                       COVENTRY, RI 02816
$431.91        PREMIUM BEVERAGE                           HORIZON BEVERAGE                           P.O. BOX 1165                       NORTON, MA 02766
$846.05        BOND DISTRIBUTING CO                       1220 BERNARD DRIVE                         BALTIMORE, MD 21223
$1,742.55      MERRIMACK VALLEY DIST CO                   P O BOX 417                                DANVERS, MA 01923
$505.50        AUGUST A BUSCH CO                          440 RIVERSIDE AVE                          MEDFORD, MA 02155
$404.40        BELLAVANCE BEVERAGE CORP                   46 PETTINGILL ROAD                         LONDONDERRY, NH 03053
$1,430.16      BREAKTHRU BEVERAGE/RELIABILE CHURCH        BREAKTHRU BEVERAGE MARYLAND                900 E. FAYETTE ST., PO BOX 13326    BALTIMORE, MD 21203
$117.07        CONNECTICUT DISTRIBUTORS, INC              333 LORDSHIP BLVD.                         P.O. BOX 487                        STATFORD, CT 06615-7100
$55.93         HARTLEY & PARKER LTD                       PO BOX 742                                 BRIDGEPORT, CT 06601
$215.00        MAYFLOWER BREWING COMPANY, LLC.            MAYFLOWER BREWING COMPANY LLC              12 RESNIK ROAD, UNIT 3              PLYMOUTH, MA 02360
$1,490.48      REPUBLIC NATIONAL DISTRIBUTING COMPANY     P.O. BOX 687                               ANNAPOLIS JUNCTION, MD 20701-0687
$118.10        NKS DISTRIBUTORS, INC.                     399 NEW CHURCHMANS ROAD                    NEW CASTLE, DE 19720-0758
$847.65        QUALITY BEVERAGE/TAUNTON                   880 BURNETT ROAD                           CHICOPEE MA 01020
$564.70        SEABOARD PRODUCTS, CO                      SEABOARD PRODUCTS, INC                     P O BOX 330                         DANVERS, MA 01923
$609.52        SOUTHERN GLAZER'S WINE AND SPIRITS OF MD   SOUTHERN GLAZERS WINE & SPIRITS OF MD/DC   P.O. BOX 26038                      BALTIMORE,MD.21224
$330.34        STAR DISTRIBUTORS, INC.                    P.O. BOX 1200                              NEW HAVEN, CT 06505
$47,881.89     Total
